'Case 1:OO-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 1 of 47 Page|D #: 11144

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

The EStateS Of YARON UNGAR
and EFRAT UNGAR, by and
through the Administrator Of
their estates David Strachman;
DVIR UNGAR, minor, by his
guardians and next friend;
YISHAI UNGAR, minor, by his
guardians and next friend;
PROFESSOR MEYER UNGAR, JUDITH
UNGAR, RABBI URl DASBERG,
JUDITH DASBERG, (individually
and in their Capacities as
legal guardians Of plaintiffs
Dvir Ungar and Yishai Ungar);
AMICHAI UNGAR; DAFNA UNGAR
AND MICHAL COHEN,

Plaintiffs
v.

THE PALESTINIAN AUTHORITY
(A.K.A. “THE PALESTINIAN
INTERIM SELF-GOVERNMENT
AUTHORITY”), THE PALESTINE
LIBERATION ORGANIZATION,
YASSER ARAFAT, JIBRIL RAJOUB,
MUHAMMED DAHLAN, AMIN
AL-HINDI, TAWFIK TIRAWI, RAZI
JABALI, HAMAS - ISLAMIC
RESISTANCE MOVEMENT (A.K.A.
“HARAKAT AL-MUQAWAMA
AL-ISLAMIYYA”), ABDEL RAHMAN
ISMAIL ABDEL RAHMAN GHANIMAT,
JAMAL ABDEL FATAH TZABICH AL
HOR, RAED FAKHRI ABU HAMDIYA,
IBRAHIM GHANIMAT and IMAN
MAHMUD HASSAN FUAD KAFISHE,

Defendants

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DECISION AND ORDER

Ronald R. Lagueux, United States District Judge

Plaintiffs filed the instant action pursuant to 18 U.S.C. §

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\CaSe 1:OO-CV-00105-L-DLN Document 40 Filed 07/25/01 Page 2 of 47 Page|D #: 11145

2333 et seg. after Yaron Ungar, a United States citizen, and his
wife, Efrat Ungar, were killed in Israel by the terrorist group
Hamas. Enacted as part of the Antiterrorism Act of 1991 (“ATA”),
18 U.S.C. § 2333 provides a cause of action for American
nationals injured in their person, property, or business by
reason of an act of international terrorism. The complaint names
the Palestinian Authority (“PA”), the Palestine Liberation
Organization (“PLO”), Yasser Arafat (“Arafat”), and the officers
of various law enforcement and intelligence agencies operating
within the territories controlled by the PA and the PLO as
defendants (hereinafter “the PA defendants”), as well as Hamas
and the individual Hamas members responsible for the Ungars’
deaths.

This matter is before the Court on the PA defendants' motion
to dismiss the complaint for lack of subject matter jurisdiction,
lack of personal jurisdiction, improper venue, insufficient
service of process, failure to state a claim upon which relief
can be granted, and inconvenience of the forum. However, the
most significant issue this Court must address is whether the
Court’s exercise of personal jurisdiction over the PA defendants
is consistent with the constitutional requirements of minimum
contacts and due process, For the reasons that follow, this
Court concludes that it may exercise personal jurisdiction over

defendant PA and defendant PLO, but cannot exercise jurisdiction

 

_,Case 1:00-CV-00105-L-DHM Document 40 Filed 07/25/01 Page 3 of 47 Page|D #: 11146

over the remaining PA defendants. Because the Court concludes
that it has jurisdiction over defendants PA and PLO, it also
addresses the additional 12(b) motions filed by the PA
defendants.

l. Background

On June 9, 1996, United States citizen Yaron Ungar, his wife
Efrat Ungar, and their nine month old son, plaintiff Yishai
Ungar, were traveling home from a wedding. Near Beit Shemesh,
Israel, a vehicle driven by defendant Raed Fakhri Abu Hamdiya
(“Abu Hamdiya”) approached the Ungars’ vehicle. Defendants Abdel
Rahman lsmail Abdel Rahman Ghanimat (“Rahman Ghanimat”) and Jamal
Abdel Fatah Tzabich Al Hor (“Hor”), opened fire on the Ungars’
car with two Kalashnikov machine guns. Yaron and Efrat Ungar
were killed in the shooting attack. Yishai Ungar survived the
attack unscathed. Plaintiff Dvir Ungar, the Ungars’ older son,
was not in the car at the time of the shooting.

Abu Hamdiya, Rahman Ghanimat, and Hor were arrested
following the shooting attack. A fourth man, defendant Iman
Mahmud Hassan Fuad Kafishe (“Kafishe”) was also arrested in
connection with the shooting. In addition, a warrant was issued
for the arrest of Ibrahim Ghanimat on charges relating to the
murders of Yaron and Efrat Ungar, Ibrahim Ghanimat remains at
large and is believed to be residing within territory controlled

by defendant PA.

 

`Qase 1:00-CV-00105-L-DLN Document 40 Filed 07/25/01 Page 4 of 47 Page|D #: 11147

All five men involved in the shooting are members of
Hamas~Islamic Resistance Movement, also known as “Harakat Al-
Mugawama Al-Islamiyya” (“Hamas”). A terrorist group dedicated to
murdering Israeli and Jewish individuals through bombings,
shootings, and other violent acts, Hamas is based in and operates
from territories controlled by defendants PA, PLO, and Yasser
Arafat. Terrorist attacks are staged by small groups of Hamas
members organized as a cell for the purpose of carrying out
terrorist activities. Abu Hamdiya, Rahman Ghanimat, Hor,
Kafishe, and Ibrahim Ghanimat comprised the terrorist cell that
murdered the Ungars.

On May 3, 1998, Abu Hamdiya was convicted by an Israeli
court of membership in Hamas and of abetting the shooting murders
of Yaron Ungar and Efrat Ungar. On October 21, 1998, an Israeli
court convicted Rahman Ghanimat and Hor of membership in
defendant Hamas and of the murders of Yaron Ungar and Efrat
Ungar. On November 3, 1998, Kafishe was convicted by an Israeli
_court of membership in Hamas and of being an accessory to the
murders of Yaron and Efrat Ungar.

Thereafter, on October 25, 1999, an Israeli court appointed
attorney David Strachman (“Strachman”) as administrator of the
Estates of Yaron and Efrat Ungar. Strachman was appointed as the
administrator of the Ungars’ estates for the express purpose of

administering and realizing assets, rights, and causes of action

 

`CaSe 1:00-CV-00105-L-DL<'|\/| Document 40 Filed 07/25/01 P@ge 5 of 47 Page|D #: 11148

that could be pursued on behalf of the Ungars’ estates within the
United States.

On March 13, 2000, plaintiffs filed an action pursuant to 18
U.S.C. § 2333 et seg. and related torts in the United States
District Court for the District of Rhode lsland. The following
parties are listed as plaintiffs: the Estate of Yaron Ungar and
the Estate of Efrat Ungar, represented by Strachman; Dvir Ungar
and Yishai Ungar, the minor children and heirs-at-law of Yaron
Ungar and Efrat Ungar; Professor Meyer Ungar and Judith Ungar,
the parents of Yaron Ungar and the legal guardians of plaintiffs
Dvir and Yishai Ungar; Rabbi Uri Dasberg and Judith Dasberg, the
parents of Efrat Ungar and the legal guardians of plaintiffs Dvir
and Yishai Ungar; and Amichai Ungar, Dafna Ungar, and Michal
Cohen, the siblings of Yaron Ungar. Plaintiffs Professor Meyer
Ungar and Judith Ungar bring this action both as the legal
guardians of plaintiffs Dvir and Yishai Ungar and in their
individual capacities. Similarly, plaintiffs Rabbi Uri Dasberg
and Judith Dasberg bring this action both as the legal guardians
of plaintiffs Dvir and Yishai Ungar and in their individual
capacities.

The defendants named in this lawsuit can be divided into two
groups. The first group is comprised of the PA defendants.
lncluded in this group are: the PA; the PLO; Arafat, President of

_defendant PA and Chairman of defendant PLO; Jibril Rajoub

 

\(_Jase 1:00-CV-00105-L-DW Document 40 Filed 07/25/01 Page 6 of 47 Page|D #: 11149

(“Rajoub”) and Muhammed Dahlan (“Dahlan”), who commanded and
controlled the Palestinian Preventive Security Services; Amin Al-
Hindi (“Al-Hindi”) and Tawfik Tirawi (“Tirawi”), who commanded
and controlled the Palestinian General Intelligence Services; and
Razi Jabali (“Jabali”), who commanded and controlled the
Palestinian Police. The Palestinian Preventive Security
Services, Palestinian General Intelligence Services, and
Palestinian Police are all official law enforcement agencies of
defendant PA responsible for law enforcement, maintaining public
order and the prevention of violence and terrorism in the
territories controlled by the PA and PLG.

The second group of defendants is comprised of the Hamas
defendants (“Hamas defendants”). This group includes Hamas, as
well as the individual operatives of Hamas responsible for the
shooting attack that killed Yaron and Efrat Ungar: Rahman
Ghanimat, Hor, Abu Hamdiya, Kafishe, and Ibrahim Ghanimat.

Plaintiffs’ complaint states five causes of action. With
the exception of Count III, all claims are brought on behalf of
all plaintiffs as against all defendants. Count l alleges that
defendants engaged in acts of international terrorism as defined
by 18 U.S.C. §§ 2331 and 2333. Count 11 of the complaint alleges
death by wrongful act. Count 111 of the complaint, which is
brought against the PA defendants only, is for negligence. Count

IV alleges intentional infliction of emotional distress, and

 

\Case 1:00-CV-00105-L-DL<|\/| Document 40 Filed 07/25/01 Page 7 of 47 Page|D #: 11150

Count V alleges negligent infliction of emotional distress.

The factual basis for each claim is the same. Essentially,
plaintiffs’ allege that the PA defendants failed to maintain
public order and security in the territories under their control,
and instead “provided defendant Hamas and its members with safe
haven, a base of operations, shelter, financial support and other
material support and resources.” Pls.’ Compl. l 41. Plaintiffs
further allege that the Hamas defendants planned and executed
acts of violence against civilians in lsrael, Gaza and the West
Bank, including the murders of Yaron and Efrat Ungar. Plaintiffs
contend that defendants’ actions constitute acts of international
terrorism because their actions: (1) were dangerous to human life
and are a violation of the criminal laws of the United States,1
(2) appear to be intended to intimidate or coerce a civilian
population, or to influence the policy of a government by means
of intimidation or coercion, and (3) occurred outside the
territorial jurisdiction of the United States.

On June 15, 2000, the PA defendants filed a motion pursuant
to Fed. R. Civ. P. 12(b) to dismiss the complaint against them on

the grounds of lack of jurisdiction over the subject matter, lack

 

1 Specifically, plaintiffs allege that the actions of the
Hamas defendants constitute violations of 18 U.S.C. § 2332
(homicide of a United States national outside of the United
States), and that the actions ofthe PA defendants constitute,
inter alia, violations of 18 U.S.C. § 3(Accessory After the
Fact) and of 18 U.S.C. § 2339A (Providing Material Support to
Terrorists).

 

\Case 1:00-CV-00105-L-DHM Document 40 Filed 07/25/01 Page 8 of 47 Page|D #: 11151

of jurisdiction over the person, insufficiency of service of
process, improper venue, failure to state a claim upon which
relief can be granted, and inconvenience of the forum.
Plaintiffs objected to the PA defendants’ motion, and a hearing
was scheduled on the matter.

Thereafter, this Court held a hearing on the PA defendants’
motion to dismiss.2 At the conclusion of the hearing, the Court
took the matter under advisement and granted the parties
additional time to prepare supplemental briefs on the issue of
personal jurisdiction. Those briefs have been received and
considered, and the matter is now in order for decision.

II. Discussion

The PA defendants’ motion to dismiss the complaint is made
on several grounds. First, the PA defendants challenge the
Court’s authority to hear this lawsuit on three bases: lack of
subject matter jurisdiction, lack of personal jurisdiction over
the PA defendants, and insufficient service of process. Second,
the PA defendants assert that the District of Rhode Island is an
improper venue for this lawsuit, or in the alternative, move to

dismiss based on inconvenience of the forum. Finally, the PA

 

2 Prior to the hearing on the PA defendants’ motion to

dismiss, plaintiffs filed a motion for entry of default as to the
Hamas defendants. A default was entered as to the Hamas
defendants on September 7, 2000. lt is questionable whether this
Court has personal jurisdiction over any of the Hamas defendants,
but that issue is not presently before the Court.

8

 

\Case 1:00-CV-00105-L-D0M Document 40 Filed 07/25/01 P(age 9 of 47 Page|D #: 11152

defendants attack the sufficiency of the pleadings, arguing that
plaintiffs have failed to state a claim upon which relief can be
granted, This Court will deal with each of the PA defendants’
arguments in turn.

A. Subject Matter Jurisdiction

The PA defendants request dismissal of the complaint under
12(b)(1) for lack of jurisdiction over the subject matter.
Because federal courts are courts of limited jurisdiction,
plaintiffs bear the burden of proving the existence of subject
matter jurisdiction. Vigueira v. First Bank, 140 F.3d 12, 16
(1st Cir. 1998). 1n determining whether subject matter
jurisdiction exists, “the district court must construe the
complaint liberally, treating all well-pleaded facts as true and
indulging all reasonable inferences in favor of the plaintiff.”
Aversa v. United States, 99 F.3d 1200, 1210 (1st Cir. 1996). 1f
any evidence has been submitted in the case, such as depositions
or exhibits, the court may consider the motion to dismiss in
light of that evidence. ld; at 1210.

Count 1 of plaintiffs' complaint pleads a federal cause of
action pursuant to 18 U.S.C. § 2333. 18 U.S.C. § 2333 provides
that:

[a]ny national of the United States injured in his or

her person, property, or business by reason of an act

of international terrorism, or his or her estate,

survivors, or heirs, may sue therefor in any

appropriate district court of the United States and
shall recover threefold the damages he or she sustains

 

Qase 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 10 of 47 Page|D #: 11153

and the cost of the suit, including attorney’s fees.
18 U.S.C. § 2333(a). 1n addition, 18 U.S.C. § 2338 provides that
“[t]he district courts of the United States shall have exclusive
jurisdiction over an action brought under this chapter.” 18
U.S.C. § 2338 (1994). Therefore, this Court has subject matter
jurisdiction over Count 1 of plaintiffs' complaint if plaintiffs
have alleged sufficient facts to invoke § 2333.

Plaintiffs' complaint alleges that Yaron Ungar is a United
States citizen. Pls.’ Compl. 1 1. 1t further alleges that Yaron
Ungar was murdered by an act of international terrorism as
defined by 18 U.S.C. § 2331. ld; at 11 1, 21-23. The Estate of
Yaron Ungar is represented by a court-appointed administrator,
plaintiff Strachman, a resident and domiciliary of the State of
Rhode lsland. ld; at 1 4. Although the complaint alleges
additional facts demonstrating the existence of subject matter
jurisdiction as to Count 1 of the complaint, the Court need not
go any further. `Viewing the complaint in the light most
favorable to plaintiffs, they have alleged sufficient facts to
demonstrate that this Court has subject matter jurisdiction over
Count 1 of the complaint,

The remaining counts in plaintiffs' complaint are state law
claims. Accordingly, this Court can only have subject matter
jurisdiction over the state law claims under the doctrine of

supplemental jurisdiction. 28 U.S.C. § 1367 provides that “in

10

 

.CaSe 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 11 of 47 Page|D #: 11154

any civil action of which the district courts have original
jurisdiction, the district courts shall have supplemental
jurisdiction over all other claims that are so related to claims
in the action . . . that they form part of the same case or
controversy.” 28 U.S.C. § 1367 (1994). Thus, this Court has the
power to hear both state and federal claims if they would
ordinarily be expected to be tried in one judicial proceeding.
See Penobscot 1ndian Nation v. Kev Bank of Maine, 112 F.3d 538,
563-64 (1st Cir. 1997). 1n particular, “[t]he state and federal
claims must derive from a common nucleus of operative fact.”
United Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966).
1n the case at bar, plaintiffs allege that Yaron and Efrat

Ungar were murdered in a terrorist attack perpetrated by the
Hamas defendants. Plaintiffs also allege the PA defendants knew
that Hamas was based in and operated out of territories
controlled by the PA and the PLO, that the PA defendants failed
to apprehend the Hamas defendant or curtail Hamas' terrorist
activities, and that the PA defendants provided material support
to Hamas. Thus, the federal claim and the state law claims
derive from a common nucleus of operative fact, and this Court

t has subject matter jurisdiction over the state law claims under
the doctrine of supplemental jurisdiction.

B. Personal Jurisdiction

The PA defendants also request dismissal of the complaint

11

 

.Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 12 of 47 Page|D #: 11155

under Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction.
The PA defendants argue that they do not have minimum contacts
with the State of Rhode 1sland; therefore, this Court could not
exercise personal jurisdiction over them without running afoul of
the constitutional requirements of minimum contacts and due
process.

Plaintiffs contend that the Court may exercise personal
jurisdiction over the PA defendants consistent with the Due
Process Clause of the Fifth Amendment. As to defendants PA and
PLO, plaintiffs argue that this Court has personal jurisdiction
through nationwide service of process pursuant to 18 U.S.C. §
2334(a) and Federal Rule of Civil Procedure 4(k)(1)(D), or, in
the alternative, pursuant to Federal Rule of Civil Procedure 4
(k)(2). As to defendants Arafat, Rajoub, Dahlan, Al-Hindi,
Tirawi, and Jibali (hereinafter “the individual defendants”),
plaintiffs argue that this Court has personal jurisdiction
pursuant to Federal Rule of Civil Procedure 4(k)(2).

1n order to survive a motion to dismiss for lack of personal
jurisdiction, a plaintiff must provide competent evidence to
establish a prima facie showing of personal jurisdiction. Under
the most common approach, referred to simply as the prima facie
standard, the district court must “restrict its inquiry to
whether the plaintiff has proffered evidence which, if credited,

suffices to support a finding of personal jurisdiction.” Barrett

12

 

_`CaSe 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 13 of 47 Page|D #: 11156

v. Lombardi, 239 F.3d 23, 26 (1st Cir. 2001). The court need not
“credit conclusory allegations or draw farfetched inferences,”
Ticketmaster-New York, 1nc. v. Alioto, 26 F.3d 201, 203 (1st Cir.
1994), but must credit specific facts set forth in the record and
supported by competent evidence, see Barrett, 239 F.3d at 26.
The role of the district court in this regard is not to act as a
fact finder, but rather to accept properly supported evidence
proffered by the plaintiff as true. See Microfibers, 1nc. v.
McDevitt-Askew, 20 F. Supp. 2d 316, 319 (D.R.I. 1998). 1n
addition, the court considers all uncontradicted facts put
forward by the defendant. Massachusetts Sch. of Law at Andover,
1nc. v. Am. Bar Assoc., 142 F.3d 26, 34 (1st Cir. 1998)(citing
Topp v. CompAir, 1nc., 814 F.2d 830, 836-37 (1st Cir. 1987)).

1n a federal question case, the starting point of this
Court’s minimum contacts analysis is the Due Process Clause of
the Fifth Amendment. U.S. Const. amend. V. “When the district
court’s subject-matter jurisdiction rests wholly or in part on
the existence of a federal question, the constitutional limits of
the court’s personal jurisdiction are drawn in the first instance
with reference to the due process clause of the fifth amendment.”
Lorelei Corp. v. Countv of Guadalupe, 940 F.2d 717, 719 (1st Cir.
1991). The relevant inquiry under such circumstances is whether
the defendant has minimum contacts with the United States as a

whole, rather than whether the defendant has minimum contacts

13

 

_CaSe 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 14 of 47 Page|D #: 11157

with the particular state in which the federal court sits. See
'id. at 719-20.

The reasoning behind this rule of law was aptly explained by
Judge Selya in United Elec., Radio and Mach. Workers v. 163
Pleasant St. Corp., 960 F.2d 1080 (1st Cir. 1992).

1nasmuch as the federalism concerns which hover over

the jurisdictional equation in a diversity case are

absent in a federal question case, a federal court’s

power to assert personal jurisdiction is geographically

expanded. 1n such circumstances, the Constitution

requires only that the defendant have the requisite

“minimum contacts” with the United States, rather than

with the particular forum state (as would be required

in a diversity case).
1d. at 1085 (citing Lorelei, 940 F.2d at 719; Trans-Asiatic Oil
Ltd. v. Apex Oil Co., 743 F.2d 956, 959 (1st Cir. 1984)).

Despite the fact that “the physical scope of the court’s
constitutional power is broad,” Lorelei, 940 F.2d at 719, this
Court’s inquiry is not yet complete. Before a district court can
exercise personal jurisdiction over a defendant in a federal
question case, plaintiff must also establish that service of
process is authorized by a federal statute or rule. See id.

This statutory limitation on the district court’s exercise of
personal jurisdiction must be satisfied, for although service of
process and personal jurisdiction are distinct concepts, they are
also closely related, and a court cannot obtain personal

jurisdiction without effective service of process. Lorelei, 940

F.2d at 719-20 n. 1 (citing Driver v. Helms, 577 F.2d 147, 155

14

 

(Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 15 of 47 Page|D #: 11158

(1st Cir. 1978)).

Defendants PA and PLO

Plaintiffs argue that jurisdiction over defendants PA and
PLO is established through the nationwide service of process
provision found at 18 U.S.C. § 2334(a) and Federal Rule of Civil
Procedure 4(k)(1)(D). Rule 4(k)(1)(D) provides that “[s]ervice
of a summons . . . is effective to establish jurisdiction over
the person of a defendant when authorized by a statute of the
United States.” Fed. R. Civ. P. 4(k)(1)(D). 18 U.S.C. § 2334(a)
states that “[p]rocess in [a civil action under section 2333 of
this title] may be served in any district where the defendant
resides, is found, or has an agent.” 18 U.S.C. § 2334(a).
Therefore, plaintiffs have made a prima facie showing of personal
jurisdiction as to defendants PA and PLO if: (1) defendants PA
and PLO have minimum contacts with the United States as a whole,
and (2) defendants PA and PLO were served in any district where
they reside, are found, or have an agent.

Plaintiffs’ Memorandum in Opposition to Defendants' Motion
to Dismiss (“Pls.’ Mem.”) and Memorandum in Further Opposition to
Defendants' Motion to Dismiss (“Pls.’ Supp. Mem.”) provide this
Court with sufficient evidence to conclude that defendants PA and
PLO have minimum contacts with the United States. First, the PLO
maintains an office in Washington, D.C. The office is headed by

Hasan Abdel Rahman, the Chief Representative of both the PLO and

15

 

\CaSe 1:00-CV-00105-L-DL|\/| Document 40 Filed 07/25/01 Page 16 of 47 Page|D #: 11159

the PA in the United States, and employs nine staff members.
Pls.' Supp. Mem., Exs. A and B. For the six month period ending
March 31, 1999, the office expended $200,132.74 on activities
ranging from conducting interviews, giving lectures, and
contacting the media. _ee Report of the Attorney General to the
Congress of the United States on the Administration of the
Foreign Agents Registration Act of 1938, as amended, for the Six
Months Ending June 30, 1999, available at http://www.doj.gov/
criminal/fara/faralst99/COUNTRY/PALESTIN.HTM. Because Rahman
represents himself as the Chief Representative of both the PA and
PLO, plaintiffs contend that these activities constitute contacts
on behalf of the PA and the PLO with the United States.

Defendant PLO also maintains an Observer Mission to the
United Nations in New York. The Permanent Observer and Deputy
Permanent Observer employed by the Observer Mission represent the
views of Palestine to the U.N., but also participate in public
speaking engagements outside of the U.N. The PLO’s activities in
New York were examined by the Second Circuit on appeal in
Klinghoffer v. S.N.C. Achille Lauro, 937 F.2d 44 (2d Cir. 1991).
Although the appeals court ruled that the PLO’s U.N. activities
could not be considered for purposes of establishing personal
jurisdiction, it also held that all of the PLO’s activities
unrelated to its observer status could be considered. See id. at

51. On remand, the district court concluded that the PLO's

16

 

\Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 17 of 47 Page|D #: 11160

fundraising activities and other public speaking engagements were
sufficient for purposes of New York’s long-arm statute.
Klinqhoffer v. S.N.C. Achille Lauro, 795 F. Supp. 112, 114
(S.D.N.Y. 1992).

1n addition to the above activities, defendant PA employs
the lobbying firm of Bannerman & Associates to assist the PA with
advocacy training and developing a public relations campaign in
the United States. §§§ Pls.’ Supp. Mem., Exs. E and F.
Furthermore, plaintiffs allege that the PLO and the PA have
significant commercial contacts with the United States, citing a
recent case arising from a dispute over a telecommunications
contract that the PLO and the PA entered into with 1nternational
Technologies 1ntegration, 1nc. See 1nt’l Techs. 1ntegration,
1nc. v. Palestine Liberation Organization, 66 F. Supp. 2d 3
(D.D.C. 1999). The proceedings in that case revealed that the PA
and the PLO maintain several bank accounts in New York with
deposits totaling approximately $18 million dollars. §ee Pls.’
Supp. Mem., Ex. G.

On the basis of this evidence, the Court concludes that
plaintiffs' have made a prima facie showing that defendants PA
and PLO have minimum contacts with the United States as a whole.
Plaintiffs' evidence goes beyond the allegations in the
complaint, providing competent evidence of defendant PA’s and

defendant PLO’s contacts with the United States as a whole.

17

 

_Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 18 of 47 Page|D #: 11161

However, before this Court can conclude that it may
constitutionally exercise personal jurisdiction over the PA
defendants, plaintiffs must also demonstrate that the PA
defendants were served in a district where they reside, are
found, or have an agent.

Plaintiffs contend that defendants PA and PLO were served
with process in this action pursuant to Federal Rule of Civil
Procedure 4(h)(1), which pertains to service upon corporations
and associations. “An unincorporated association is defined as a
body of persons acting together and using certain methods for
prosecuting a special purpose or common enterprise.” Motta v.
Samuel Weiser, 1nc., 768 F.2d 481, 485 (1st Cir. 1985)(citing
Black’s Law Dictionary 111 (5th ed. 1979)), cert. denied, 474
U.S. 1033 (1985).

1t has previously been determined that the PLO qualifies as
an unincorporated association because “[i]t is composed of
individuals, without a legal identity apart from its membership,
formed for specific objectives.” Klin hoffer, 739 F. Supp. 854,
858 (S.D.N.Y. 1990). Defendant PA also qualifies as an
unincorporated association for purposes of service of process.
The PA is not presently recognized as a foreign state by the
United States. Therefore, it may also be categorized as an
organization composed of individuals seeking to achieve specific

objectives, and which has no legal identity in the United States

18

 

\Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 19 of 47 Page|D #: 11162
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apart from its membership.

Under Rule 4(h)(1), service of process on an unincorporated
association shall be effected “by delivering a copy of the
summons and of the complaint to an officer, [or] a managing or
general agent.” Fed. R. Civ. P. 4(h)(1). Plaintiffs allege that
service of process was delivered to Hasan Abdel Rahman (the Chief
Representative of the PA and the PLO in the United States) on
April 13( 2000, in Washington, D.C., and to Marwan Jilani (the
PLO’s Deputy Permanent Observer to the United Nations) on March
23, 2000 in Massachusetts. Plaintiffs provided affidavits of
service of process as exhibits to their Memorandum in Opposition
to Defendants' Motion to Dismiss.

Delivery of a copy of the summons and complaint to Jilani
and Rahman is effective to confer jurisdiction over defendant PA
and defendant PLO only if Jilani and Rahman are officers and/or
managing or general agents of the PA and the PLO. Defendant PA
and defendant PLO claim that Jilani and Rahman do not qualify as
managing or general agents because they are not authorized ton
accept service of process on behalf of the PA or the PLO. 1n
addition, they claim that Jilani is immune from service pursuant
to the Headquarters Agreement treaty between the U.N. and the
United States, 22 U.S.C. § 287 Note (1994)(“the Headquarters
Agreement”), and that Rahman is immune from service under the

Foreign Missions Act (“FMA”), 22 U.S.C. § 4301 et seq.

19

 

\Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 20 of 47 Page|D #: 11163

1n a federal question case, federal law determines whether a
person is an agent for purposes of service under Rule 4. §§e
Nat'l Eguip. Rental, Ltd. v. Szukhent, 375 U.S. 311, 316 (1964);
Dodco, 1nc. v. Am. Bonding Co., 7 F.3d 1387, 1388 (8th Cir.
1993). 1n Klinghoffer, the district court addressed the question
of whether the PLO’s Permanent Observer to the U.N. qualified as
a managing or general agent where he was not specifically
designated as such by the PLO. §ee Klinghoffer, 739 F. Supp.
854. The district court stated that service “is not limited to
titled officials of the association or those expressly authorized
to accept service,” and held that a general or managing agent is
an individual with the authority to exercise independent judgment
and discretion in the performance of his or her duties. 1d; at
867 (citing Grammenos v. Lemos, 457 F.2d 1067, 1073 (2d Cir.
1972)). Thus, “service is sufficient when made upon an
individual who stands in such a position as to render it fair,
reasonable and just to imply the authority on his part to receive
service.” 1d; (citations omitted).

1n the present case, plaintiffs contend that Jilani and
Rahman are 99th managing or general agents of defendant PA and
defendant PLO. The PLO is not a member of the United Nations,
but does maintain a Permanent Observer Mission to the U.N. 1n
1988, the U.N. adopted a resolution to use the designation

“Palestine” instead of the designation “PLO” in the United

20

 

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 21 of 47 Page|D #: 11164

Nations system. Pls.’ Mem., Ex. C. Significantly, the PA also
identifies the Observer Mission as its official representative to
the U.N. ldé, Ex. J. Mr. Jilani is the Deputy Permanent
Observer of the Permanent Observer Mission of Palestine to the
United Nations, and has served in the Mission since 1996. Decl.
of Marwan Jilani, 1 1. 1n his declaration, Mr. Jilani stated
that he acts at the direction of the Permanent Observer, but also
stated that he acts for the Permanent Observer in his absence.
1d; at 1 2. As Mr. Jilani indicated, the purpose of the
Permanent Observer is to present the views of Palestine, not only
before the U.N., but “in all activities, discussion, dialogues
and debates . . . to the people of the world who are concerned
with those issues.” ld;

At the time he was served, Mr. Jilani was participating as a
guest speaker in a program on the Middle East peace process held
in Brookline, Massachusetts.` See id. Mr. Jilani attended the
program to present the views of Palestine to the interested
public. Under these circumstances, it is reasonable to conclude
that Jilani is a managing or general agent of the PLO and the PA.
Mr. Jilani’s presence as the representative of the Observer
Mission renders it “fair, reasonable and just” to imply his
authority to receive service on behalf of the PLO and the PA
because both entities have designated the Observer Mission as

their official representative to the U.N. Given the fact that

21

 

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 22 of 47 Page|D #: 11165
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Jilani attended the panel discussion as the sole representative
of the Observer Mission to present the views of Palestine, it
also reasonable to conclude that he was not “under direct
superior control,” but instead exercised some degree of
discretion and judgment in the fulfillment of his duties.

The declaration of Mr. Rahman establishes that he is the
Chief Representative of the PLO in the United States. Decl. of
Hasan Abdel Rahman, 1 1. He is also registered with the U.S.
Department of Justice as an agent for the PLO. Pls.’ Mem., Ex. F
(“Short Form Listing of Registrant's Foreign Agents”, available
at http://www.usdoj.gov/criminal/fara/faralst99/SHRTFORM/
SHRTFORM.HTM). Mr. Rahman states that defendant PA has no
representatives in the United States. Decl. of Hasan Abdel
Rahman, 1 3. However, plaintiffs have submitted the biography of
Mr. Rahman, allegedly distributed by Rahman’s office in
Washington D.C., which describes Rahman as the Chief
Representative of the Palestine Liberation Organization and the
Palestinian National Authority. Pls.’ Supp. Mem., Ex. A. 1n
addition, plaintiffs point out that Mr. Rahman has spoken on
behalf of both the PLO and the PA on more than one occasion. §ee
id; at Exs. B and C.

This evidence is sufficient to establish that Rahman
qualifies as a general or managing agent of the PLO and the PA.

As the Chief Representative of both entities in the United

22

 

`Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 23 of 47 Page|D #: 11166

States, it is reasonable to conclude that he exercises
independent judgment and discretion in the performance of his
duties. 1t is also fair, reasonable and just to imply his
authority to accept service on behalf of the PLO and the PA,
notwithstanding his assertions to the contrary.

1n Klin hoffer, the district court also rejected the PLO’s
argument that the PLO’s Permanent Observer to the United Nations
is immune from service of process under the Headquarters
Agreement, concluding that the Headquarters Agreement only
confers diplomatic immunity on Members of the United Nations.
Klinghoffer, 739 F. Supp. at 864; affld( 937 F.2d at 48. Because
the PLO is not a Member of the U.N., but only an Observer, the
PLG has no claim to diplomatic immunity. Klin hoffer, 739 F.
Supp. at 864-65. 1n the case at bar, defendants offer nothing
new in support of this claim, but merely reiterate the same
arguments made in Klinghoffer. Therefore, the argument must fail
here as well.

This Court also rejects the PA defendants’ claim that the
FMA confers immunity from service of process on Rahman. As noted
by plaintiffs, the PA defendants have not cited any specific
provision or interpretation of the FMA to support this position.
The sole provision in the Act related to immunities is 22 U.S.C.
§ 4310, which provides in pertinent part that “[n]o act or

omission by any foreign mission . . . in compliance with this

23

 

yCaSe 1:00-CV-00105-L-DL!\/| Document 40 Filed 07/25/01 Page 24 of 47 Page|D #: 11167

chapter shall be deemed to be an implied waiver of any immunity
otherwise provided for by law.” 22 U.S.C. § 4310 (1994). This
provision does not render representatives of foreign missions
immune from service; it simply preserves immunities that may be
provided for by law. The PA defendants have not identified any
such immunity. Therefore, the FMA does not render Mr. Rahman
immune from service of process.

Accordingly, it is the determination of this Court that it
has personal jurisdiction over defendant PA and defendant PLO
pursuant to the nationwide service of process provision of 18
U.S.C. § 2334(a) and Rule 4(k)(1)(D).3 Defendant PA and
defendant PLO have minimum contacts with the United States as a
whole, and each defendant was served through the delivery of a
copy of the summons and complaint to a managing or general agent
of each defendant. Therefore, this Court may exercise personal
jurisdiction over defendant PA and defendant PLO consistent with
the Due Process Clause of the Fifth Amendment.

1ndividual PA Defendants

This Court must now determine whether it has personal
jurisdiction over the individual PA defendants. Plaintiffs argue

that personal jurisdiction has been established pursuant to

 

3 Because the Court concludes that it has personal
jurisdiction over defendants PA and PLO on these grounds, it does
not reach the question of whether it could exercise personal
jurisdiction over defendants PA and PLO pursuant to Rule 4(k)(2).

24

 

\Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 25 of 47 Page|D #: 11168

Federal Rule of Civil Procedure 4(k)(2). Rule 4(k)(2) states:
1f the exercise of jurisdiction is consistent with the
Constitution and laws of the United States, serving a
summons or filing a waiver of service is also
effective, with respect to claims arising under federal
law, to establish personal jurisdiction over the person
of any defendant who is not subject to the jurisdiction
of the courts of general jurisdiction of any state.

Fed. R. Civ. P. 4(k)(2).

The PA defendants strenuously argue that plaintiffs cannot
establish personal jurisdiction pursuant to Rule 4(k)(2) because
plaintiffs cannot show that this Court’s exercise of personal
jurisdiction over the individual PA defendants would be
consistent with the United States Constitution.

The PA defendants’ argument is based in large part on
United States v. Swiss Am. Bank, Ltd., 191 F.3d 30 (1st Cir.
1999), wherein the First Circuit delineated the circumstances
under which a plaintiff may utilize Rule 4(k)(2) to establish
personal jurisdiction over a defendant. By its terms, Rule
4(k)(2) requires that the following factors be present: (1) the
plaintiff's claim must arise under federal law, (2) no state
court of general jurisdiction can have personal jurisdiction over
the putative defendant, and (3) the federal court’s exercise of
personal jurisdiction over the defendant must be consistent with
the Constitution or other federal law. ld; at 38; Fed. R. Civ.
P. 4(k)(2).

However, the First Circuit recognized that requiring a

25

 

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 26 of 47 Page|D #: 11169
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plaintiff to prove the so-called “negation prong” (that the
defendant is beyond the reach of any state court of general
jurisdiction), “in effect requires a plaintiff to prove a
negative fifty times over-an epistemological quandary which is
compounded by the fact that the defendant typically controls much
of the information needed to determine the existence and/or
magnitude of its contacts with any given jurisdiction.” §wi§§
American, 191 F.3d at 40. Accordingly, the court of appeals
devised the following burden-shifting framework.

As a initial matter, a plaintiff seeking to invoke Rule
4(k)(2) must make out a prima facie case for applicability of the
rule. Plaintiff's prima facie case consists of three elements:
(1) the claim arises under federal law, (2) no situation-specific
federal statute confers personal jurisdiction over the defendant,
and (3) the defendant’s contacts with the nation as a whole are
sufficient to comply with the constitutional requirements of due
process and minimum contacts. ldé at 41. 1n addition, plaintiff
must certify that “based on the information that is readily
available to the plaintiff and his counsel, the defendant is not
subject to suit in the courts of general jurisdiction of any
state.” ldé

At this point, the burden of production shifts to the
defendant to produce evidence which, if credited, demonstrates

either that the defendant’s contacts with the United States are

26

 

\Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 27 of 47 Page|D #: 11170

constitutionally insufficient, or that it is subject to suit in a
state court of general jurisdiction. ld; 1f the defendant
chooses the latter course, the plaintiff may either move for
transfer to a district within that state, discontinue the action,
or contest the defendant’s evidence on this score. ld¢ at 42.
1f the defendant instead contends that it does not have
sufficient contacts with the United States to justify the
exercise of personal jurisdiction, the negation requirement is
conceded, and the plaintiff “need only prove that his claim
arises under federal law and that the defendant has contacts with
the United States as a whole sufficient to permit a federal court
constitutionally to exercise personal jurisdiction over it.” 1d;
1n the instant case, the PA defendants argue that plaintiffs
failed to make out their prima facie case because they cannot
demonstrate that the individual defendants’ contacts with the
nation as a whole meet the constitutional requirements of due
process and minimum contacts. Because plaintiffs argue that the
individual defendants’ contacts with the United States as a whole
are sufficient to confer general personal jurisdiction,
plaintiffs must demonstrate that the individual defendants have
engaged in “continuous and systematic activity, unrelated to the
suit” in the forum. Noonan v. Winston, 135 F.3d 85, 89 (1st Cir.
1998).

1t is patently obvious to this Court that plaintiffs cannot

27

 

`Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 28 of 47 Page|D #:11171

meet this burden. Plaintiffs have not offered any evidence that
demonstrates that the individual defendants have any contact with
the United States whatsoever. 1nstead, plaintiffs seek to
persuade this Court to adopt the due process analysis applied by
the district courts in the District of Columbia and the Eastern
District of New York in several recent decisions interpreting and
applying the state-sponsored terrorism exception of the Federal
Sovereign 1mmunities Act (“FSIA”), 28 U.S.C. § 1605(a)(7) and §
1605 Note (Supp. 2001).

The state-sponsored terrorism exception was enacted as an
amendment to the FSIA by the Anti-Terrorism and Effective Death
Penalty Act of 1996 (“AEDPA”). 1t provides that a foreign state
which has been officially designated as a state sponsor of
terrorism by the Department of State4 shall not be immune from
suit where the foreign state, or an official, employee, or agent
of the foreign state causes personal injury or death to a United
States citizen as a result of an act of terrorism, or through the
provision of material support and resources to an individual or
entity that commits such an act. 28 U.S.C. § 1605(a)(7).

Confronted with the question of whether the federal courts

could exercise personal jurisdiction over foreign state

 

4 Currently, Cuba, 1ran, 1raq, North Korea, Sudan, and Syria
are designated as sponsors of terrorism pursuant to 50 U.S.C.
App. § 2405(j). See 22 C.F.R. § 126.1(d) (current through June
5, 2001).

28

 

»Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 29 of 47 Page|D #: 11172

defendants, the district courts in the District of Columbia and
the Eastern District of New York concluded that the due process
analysis applicable to foreign state defendants that are sued
pursuant to § 1605(a)(7) differs from the traditional due process
analysis. E.g., Flatow v. 1slamic Republic of 1ran, 999 F. Supp.
1 (D.D.C. 1998); Rein v. Socialist People’s Libvan Arab
Jamahiriya, 995 F. Supp. 325 (E.D.N.Y. 1998).

The primary reason behind the analysis of those courts is
that 28 U.S.C. § 1330(b) provides that “[p]ersonal jurisdiction
over a foreign state shall exist as to every claim for relief
over which the district courts have jurisdiction . . . where
service has been made under section 1608 of this title.” 28
U.S.C. § 1330(b); see also 28 U.S.C. § 1608 (providing for the
manner of service upon a foreign state or political subdivision
of a foreign state). Relying on this statutory provision, the
courts have determined that “subject-matter jurisdiction together
with proper service of process gives the court personal
jurisdiction.” Bein, 995 F. Supp. at 330.

However, the Flatow Court also looked beyond § 1330(b),
grounding its conclusion that the exercise of personal
jurisdiction over foreign state defendants in accordance with §§
1605(a)(7) and 1330(b) is consistent with the due process clause
on several additional bases. 1n particular, the court found that

the exceptions to sovereign immunity contained in the FS1A

29

 

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 30 of 47 Page|D #: 11173

encompass conduct that, by definition, goes beyond what is
necessary to establish minimum contacts. §ee Flatow, 999 F.
Supp. at 20. Thus, “an inquiry into personal jurisdiction over a
foreign state need not consider the rubric of ‘minimum contacts’;
the concept of ‘minimum contacts' is inherently subsumed within
the exceptions to immunity defined by the statute.” 1d;

For example, a foreign state subject to suit under the
“commercial activities” exception to the FSIA necessarily has
minimum contacts with the United States because § 1605(a)(2)
requires that the action be based on a commercial activity
carried on in the United States, an act performed in the United
States, or on act that causes a “direct effect” in the United
States. 28 U.S.C. § 1605(a)(2). This conduct “requires
something more substantial than ‘minimum contacts' with the
United States,” rendering an independent minimum contacts
analysis unnecessary. Flatow, 999 F. Supp. at 20.

Whether or not the minimum contacts analysis is subsumed by
the state-sponsored terrorism exception of § 1605(a)(7) appears
to be somewhat of an open question. The district courts have
stated that it is, noting that minimum contacts with the United
States are established through the victim’s nationality. §ee
Bein, 995 F. Supp. at 330. However, the Second Circuit, hearing
Bein on appeal, stated that “[t]he elements of § 1605(a)(7),

unlike those of the commercial activities exception . . . do not

30

 

`Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 31 of 47 Page|D #: 11174

entail any finding of minimum contacts.” Rein v. Socialist
People's Libvan Arab Jamahiriva, 162 F.3d 748, 761 (2d Cir.
1998). This statement seriously undermines the idea that the due
process clause is satisfied merely by alleging a cause of action
under the state-sponsored terrorism exception to the FSIA.

A third justification for the approach used by these
district courts focuses on the extent of contacts that must be
present in the context of a case brought pursuant to §
1605(a)(7). As stated in Flatow, “a foreign state that sponsors
terrorist activities which causes the death or personal injury of
a United States national will invariably have sufficient contacts
with the United States to satisfy Due Process.” 999 F. Supp. at
23. The contacts likely to be present in such a case are the
sovereign contacts between the foreign state defendant and the
United States, as well as the nationality of the victim. 1n
light of the policy decisions inherent in Congress’ enactment of
the state-sponsored terrorist exception to the FSIA, the Flatow
Court concluded that such contacts, seemingly inadequate under a
traditional due process analysis, are nonetheless reasonable in
the context of the FSIA. See id. at 22.

Finally, the Flatow Court held that a foreign state is not a
“person” for purposes of constitutional due process analysis.

ldL at 19-21. Accordingly, the Court found that no minimum

contacts analysis is required.

31

 

nCase 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 32 of 47 Page|D #: 11175

Plaintiffs suggest that the due process analysis applied by
the courts in Flatow and Bein should also be applied in cases
brought pursuant to § 2333. To support their argument,
plaintiffs cite to the legislative history of the ATA, under
which 18 U.S.C. § 2333 was enacted, and compare it with the
legislative purpose behind the AEDPA. The purpose of the ATA is
to “provide for Federal civil remedies for American victims of
international terrorism . . . The ATA removes the jurisdictional
hurdles in the courts confronting victims and it empowers victims
with all the weapons available in civil litigation.” 137 Cong.
Rec. 8143 (1991). Likewise, the AEDPA “was created as part of a
federal initiative to combat international terrorism.” Flatow,
999 F. Supp. at 14. Plaintiffs also point out that the provision
of material support and resources to terrorists “is actionable
under both the AEDPA (against a foreign state) and the ATA
(against a non-state defendant), clearly indicating the common
purpose and Congressional intent which produced both statutes.”
Pls.’ Supp. Mem., p. 20.

Despite the apparent similarity in legislative purpose,
there are several important differences between the ATA and the
AEDPA. First and foremost, there is no express provision for the
district court’s exercise of personal jurisdiction over the
defendant in an action brought pursuant to 18 U.S.C. § 2333.

While § 2334(a) provides for venue and nationwide service of

32

 

`Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 33 of 47 Page|D #: 11176

process, it does not contain a statutory basis for the exercise
of personal jurisdiction similar to the one provided for by 28
U.S.C. § 1330(b) in FSIA actions. Second, unlike the exceptions
to sovereign immunity contained in 18 U.S.C. § 1605(a), the
elements of a § 2333 claim do not, by definition, subsume a
minimum contacts analysis. Third, non-state defendants, such as
the individual defendants in this case, do not have sovereign
contacts with the United States sufficient to confer general
personal jurisdiction. Finally, there is no question as to
whether an individual defendant, as opposed to a foreign state
defendant, is entitled to the constitutional protections afforded
by the Due Process Clause.

1n light of these differences, this Court declines
plaintiffs' invitation to extend the due process analysis applied
by the district courts under the state-sponsored terrorist
exception to the FSIA to the case currently before the Court. 1n
reaching this decision, the Court notes that it does not decide
whether the approach to personal jurisdiction used by the
district courts of the District of Columbia and the Eastern
District of New York in FSIA cases is consistent with the Due
Process Clause. Rather, this Court holds that, in cases brought
pursuant to 18 U.S.C. § 2333, a plaintiff must demonstrate that
the defendant has sufficient minimum contacts to satisfy a

traditional due process analysis. 1n the instant case, the Court

33

 

` Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 34 of 47 Page|D #: 11177

cannot conclude that the individual defendants engaged in the
kind of systematic and continuous activity necessary to support
the exercise of general personal jurisdiction over the individual
PA defendants. Accordingly, the claims against the individual
defendants must be dismissed for lack of personal jurisdiction.

C. 1mproper Venue

The PA defendants also move to dismiss the complaint under
Rule 12(b)(3) on the grounds that the District of Rhode 1sland is
not the proper venue for this lawsuit. Defendants argue that
venue is improper in the instant case because no plaintiff is
authorized to bring an action pursuant to § 2333. This argument
can be disposed of quickly.

18 U.S.C. § 2334(a) provides that “[a]ny civil action under
section 2333 of this title against any person may be instituted
in the district court of the United States for any district where
any plaintiff resides or where any defendant resides or is
served, or has an agent.” 18 U.S.C. § 2334(a). Thus, venue is
proper in this case as long as at least one plaintiff is a
resident of the State of Rhode 1sland. Plaintiffs allege that
plaintiff David Strachman is a resident and domiciliary of the
State of Rhode 1sland. He was appointed as the administrator of
the Estate of Yaron Ungar and the Estate of Efrat Ungar, for the
limited purpose of realizing and handling assets, rights, and

causes of action in the United States, by the Jerusalem District

34

 

`Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 35 of 47 Page|D #: 11178

Rabbinical Court of the State of 1srael. Pls.’ Mem., Ex. A.
Therefore, venue is proper because plaintiff Strachman is a
resident of the State of Rhode lsland.

D. 1nsufficient Service of Process

A motion to dismiss for insufficient service of process
pursuant to Rule 12(b)(5) challenges the mode of delivery or the
lack of delivery of the summons and complaint. 5A Charles Alan
Wright & Arthur R. Miller, Federal Practice and Procedure § 1353
(2d ed. 1987). Plaintiffs bear the burden of proving proper
service. Rivera-Lopez v. Municipalitv of Dorado, 979 F.2d 885,
887 (1st Cir. 1992).

1n the instant case, the PA defendants have not articulated
any objection to the mode of delivery of the summonses and
complaints to Jilani, nor have they argued that the summonses and
complaints were not delivered to Jilani.5 However, they allege a
defect in service on Rahman. 1n his declaration, Mr. Rahman
states that “a bundle of papers was found in the front room of
the Mission office containing separate Summonses and Complaints.”
Decl. of Hasan Abdel Rahman, 1 2. Thus, the objection raised by
the PA defendants is directed at the delivery of the summonses

and complaints.

 

5 To the extent that the PA defendants challenge service of
process on the grounds of a lack of agency relationship between
Jilani or Rahman and the PA defendants, that argument has been
addressed in the preceding section discussing this Court’s
exercise of personal jurisdiction.

35

 

*Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 36 of 47 Page|D #: 11179

However, plaintiffs provided proof of service on Rahman
through the affidavit of Freeman R. Woodbury, the process server
who delivered the summonses and complaints to Rahman at the PLO
office in Washington, D.C. 1n his affidavit, Mr. Woodbury states
that on April 13, 2000, he identified Mr. Rahman from a picture
he was carrying, and rode alongside Mr. Rahman in the elevator of
the building where the PLO’s Washington, D.C. office is located.
Aff. of Freeman R. Woodbury, 1 1. 1n the elevator, Mr. Woodbury
identified himself and notified Rahman that he was being served
with summonses and complaints. 1d; at 1 3. Mr. Woodbury
followed Rahman to his office, and repeated that he was serving
summonses and complaints on Rahman. ld; at 1 4. Mr. Woodbury
states that Mr. Rahman “refused to accept the documentation so 1
placed the summonses and complaints on the desk beside him.” ldL
at 1 5.

The purpose of Rule 4 is to provide notice to the party to
be served, With this objective in mind, Mr. Woodbury twice
informed Rahman that he was being served, and left the papers on
the desk in Rahman's office only after Rahman refused to accept
the summonses and complaints. An agent of a defendant cannot
successfully thwart service of process by simply refusing hand
delivery of the summons and complaint. 1n fact, it has been
stated that:

[i]f defendant attempts to evade service or refuses to
accept delivery after being informed by the process

36

 

` Case 1:00-CV-00105-L-D|_‘[|\/| Document 40 Filed 07/25/01 Page 37 of 47 Page|D #: 11180

server of the nature of the Dapers, it usually is

sufficient for the process server to touch the party to

be served with the papers and leave them in defendant’s

presence or, if a touching is impossible, simply to

leave them in defendant’s physical proximity.
4A Charles Alan Wright and Arthur R. Miller, Federal Practice and
Procedure § 1095 (2d ed. 1987)(emphasis added). Therefore,
under the circumstances of the delivery as attested to by Mr.
Woodbury, it is the determination of this Court that the delivery

of the summonses and complaints to Rahman was sufficient.

E. Failure to State a Claim Upon Which Relief Can Be
Granted

The PA defendants also move to dismiss the complaint
pursuant to Rule 12(b)(6) for failure to state a claim upon which
relief can be granted, 1n ruling on a motion to dismiss for
failure to state a claim, the court construes the complaint in
the light most favorable to the plaintiff, taking all well-
pleaded allegations as true and giving plaintiff the benefit of
all reasonable inferences. Figueroa v. Rivera, 147 F.3d 77, 80
(1st Cir. 1998). Dismissal under Rule 12(b)(6) is appropriate
only if there is no set of facts under which the plaintiff could
prevail on his or her claimJ Conle v. Gibson, 355 U.S. 41, 45-
46 (1957).

The Federal Claim

As an initial matter, the PA defendants contend that the §
2333 claim filed by the Estate of Efrat Ungar must be dismissed

because there is no allegation that Efrat Ungar was a national of

37

 

y Case 1:00-CV-00105-L-DL{|\/| Document 40 Filed 07/25/01 Page 38 of 47 Page|D #: 11181

the United States. This Court is in agreement. Section 2333
authorizes civil actions only on behalf on United States
nationals, or their estates, survivors, or heirs, There is no
allegation in the complaint that Efrat Ungar was a national of
the United States. Therefore, the § 2333 claim on behalf of the
Estate of Efrat Ungar must be dismissed for failure to state a
claim upon which relief can be granted,

1n addition, the § 2333 claims filed by the survivors and/or
heirs of Efrat Ungar must also be dismissed for failure to state
a claim, as these claims are dependent on Efrat Ungar’s status as4
a United States national. Accordingly, the § 2333 claims filed
by plaintiffs Rabbi Uri Dasberg and Judith Dasberg in their
individual capacities must be dismissed for failure to state a
claim. The Court also notes that, insofar as the § 2333 claims
filed on behalf of plaintiffs Dvir and Yishai Ungar seek damages
for losses suffered as a result of the death of Efrat Ungar,
those claims cannot be maintained under this statute.

The PA defendants argue that the remaining § 2333 claims
must be dismissed because the activity attributed to the PA
defendants in plaintiffs' complaint, the alleged facilitation,
condonation, and failure to prevent terrorist activities in
general, does not amount to acts of “international terrorism” as
defined by 18 U.S.C. § 2331, and is therefore not actionable

under 18 U.S.C. § 2333.

38

 

_ Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 39 of 47 Page|D #: 11182

Section 2331 (1) defines “international terrorism” as

activities that:

(A) involve violent acts or acts dangerous to
human life that are a violation of the criminal
laws of the United States or of any State, or that
would be a criminal violation if committed within
the jurisdiction of the United States or of any
State;
(B) appear to be intended-
(i) to intimidate or coerce a civilian
population;
(ii) to influence the policy of a government
by intimidation or coercion; or
(iii)to affect the conduct of a government by
assassination or kidnapping; and
(C) occur primarily outside the territorial
jurisdiction of the United States, or transcend
national boundaries in terms of the means by which
they are accomplished, the persons they appear
intended to intimidate or coerce, or the locale in
which their perpetrators operate or seek asylum.

18 U.S.C. § 2331(1).

Plaintiffs allege that the PA defendants provided defendant
Hamas “with safe haven and a base of operations, by permitting
and/or encouraging defendant HAMAS to operate freely and conduct
activities in the territory in their control or in which they
maintained a police presence.” Pls.’ Compl., 1 35. Plaintiffs
further allege that the PA defendants granted material and
financial support to the families of Hamas members who had been
captured or killed while carrying out terrorist attacks, employed
member of Hamas as policemen or security officials, repeatedly
praised and lauded defendant Hamas and its members who engaged in

acts of terrorism against 1sraeli targets and Jewish civilians,

39

 

Case 1:00- - - - `
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and repeatedly refused the requests of 1sraeli officials to
surrender for prosecution suspected terrorists. See id. at 11
37-39, 46.

Plaintiffs allege that these activities involve violent acts.
or acts dangerous to human life, which, if committed within the
jurisdiction of the United States, would constitute violations of
18 U.S.C. § 3 (“Accessory After the Fact”), and of 18 U.S.C. §
2339A (“Providing Material Support to Terrorists”). 1d4 at.1 44.
Plaintiffs also allege that the PA defendants’ activities appear
to be intended to intimidate or coerce a civilian population, and
to influence the policy of a government by intimidation or
coercion, 1d; at 1 46. Finally, plaintiffs allege that these
activities occurred outside the territorial jurisdiction of the
United States. See id. at 11 27-48.

Viewing the allegations in the complaint in the light most
favorable to plaintiffs and giving plaintiffs the benefit of all
reasonable inferences, it is the determination of this Court that
the complaint sufficiently states a cause of action under 18
U.S.C. § 2333.

The State Law Claims

The remaining counts in the complaint are state law claims
for death by wrongful act (Count 11), negligence (Count 111),
intentional infliction of emotional distress (Count 1V), and

negligent infliction of emotional distress (Count V). Because

40

 

Case 1:00- - - - ‘ ` 1 4
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the state law claims arise from the same set of facts as the §
2333 claim, the complaint incorporates the allegations made in
support of the federal claim. 1n short, plaintiffs allege that
the PA defendants failed to prevent terrorist activities in the
territories under their control, and instead actively encouraged
and incited terrorist activities. Plaintiffs further allege that
those acts and/or omissions resulted in the murders of Yaron and
Efrat Ungar. The PA defendants contend that these allegations
are legally insufficient to sustain the causes of action alleged,
and ask that the state law claims be dismissed.

1n order to determine whether the allegations in a complaint
are sufficient to state a claim upon which relief can be granted,
a court must necessarily refer to the law on which the complaint
is grounded. 1n the present case, the complaint does not
identify the law that is to be applied by this Court in measuring
the sufficiency of the state law claims. This Court applies
Rhode 1sland law to issues of state law that arise in federal
court because the Erie doctrine extends to actions in which
federal jurisdiction is premised on supplemental jurisdiction
over state law claims. Doty v. Sewall, 908 F.2d 1053, 1063 (1st
Cir. 1990)(citing United Mine Workers v. Gibbs, 383 U.S. 715, 722
(1966)). This includes the application of Rhode 1sland's
conflict-of-laws provisions. See kaes v. DeDuV, 1nc., 140 F.3d

31, 39 (1st Cir. 1998). Therefore, this Court must determine

41

v Case 1:00-CV-00105-L-DL|\/| Document 40 Filed 07/25/01 Page 42 of 47 Page|D #: 11185

what law a Rhode ISland court would apply.

All four of the state law claims sound in tort. “Rhode
1sland employs an ‘interest-weighing’ approach to choice of law
in tort matters.” Fashion House, 1nc. v. K Mart Corp., 892 F.2d
1076, 1092 (1st Cir. 1989)(citing Berardi, U.S.A., Ltd. v.
Emplovers Mut. Cas. Co., 526 A.Zd 515 (R.1. 1987)). The
“interest weighing” approach requires a court to consider
“numerous factors which include the place of injury; the place
where the tortious conduct occurred; the domicile, residence, and
place of business of the parties; and the place where the
relationship, if any, between the parties was centered.”
Berardi, 526 A.2d at 516-17.

Applying these factors to the case at bar, this Court finds
that the injuries occurred in 1srael; the tortious conduct
occurred in 1srael or in territories controlled by the PA
defendants; and that all parties, with the exception of plaintiff
Strachman, appear to be domiciled in either 1srael or in
territories controlled by the PA defendants. Accordingly, it is
the determination of this Court that Rhode 1sland law requires
the application of 1sraeli law to the state law claims contained
in plaintiffs' complaint.

1t is the obligation of the plaintiff to plead and prove
foreign law. §ee R.1. Gen. Laws § 9-19-7. Plaintiffs here did

not plead 1sraeli law in their complaint. The Court has no way

42

 

y Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 43 of 47 Page|D #: 11186

of knowing whether ISraeli law recognizes these four causes of
action based on the facts pleaded in this case. Therefore,
Counts 11, 111, 1V, and V must be dismissed for failure to state
a cause of action. However, plaintiffs will be given 30 days
from the date hereof to file an amended complaint against
defendants PA and PLO under 1sraeli law making the necessary
allegations.

F. 1nconvenience of the Forum

As a final matter, the PA defendants contend that the
complaint against them should be dismissed under the doctrine of
forum non conveniens. This doctrine permits a district court “to
dismiss a case where an alternative forum is available in another
country that is fair to the parties and substantially more
convenient for them or the courts.” Nowak v. Tak How 1nvs.,
Ltd;, 94 F.3d 708, 719 (1st Cir. 1996).

There is a strong presumption in favor of the plaintiff's
choice of forum. See Mercier v. Sheraton 1nt'l, 1nc., 935 F.2d
419, 423-24 (1st Cir. 1991). As a result, the defendant bears
the burden of demonstrating both that: (1) an adequate
alternative forum exists, and (2) considerations of convenience
and judicial efficiency strongly favor litigating the claim in
the alternative forum. 1ragorri v. 1nt’l Elevator, 1nc., 203
F.3d 8, 12 (1st Cir. 2000).

1n general, the first requirement is usually satisfied if

43

 

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 44 of 47 Page|D #: 11187

the defendant shows that an alternative forum provides redress
for the type of claims alleged in the plaintiff's complaint and
that the defendant is amenable to suit in the alternative forum.
1d; (citing Piper Aircraft Co. v. Revno, 454 U.S. 235, 254 n. 22
(1981)). To satisfy the second requirement, the defendant must
demonstrate that the balance of factors “relevant to the private
and public interests implicated by the case strongly favors
dismissal.” ldé (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501,
508-509 (1947)).

An illustrative list of considerations relevant to the
private interest includes: “the relative ease of access to
sources of proof; availability of compulsory process for
attendance of unwilling, and the cost of obtaining attendance of
willing, witnesses; possibility of view of premises, if view
would be appropriate to the action; and all other practical
problems that make trial of a case easy, expeditious, and
inexpensive.” Gulf Oil Corp. v. Gilbert, 330 U.S. at 508.
Factors of public interest include administrative difficulties
for courts with overloaded dockets, the imposition of jury duty
on a community with no connection to the underlying dispute, the
“local interest in having localized controversies decided at
home,” and the court’s familiarity with the law to be applied in
the case. ldé at 508-509.

1n the usual case, the court has the discretion to grant or

44

 

_ Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 45 of 47 Page|D #: 11188

deny a motion to dismiss based on the doctrine of forum non
conveniens after consideration of the relevant factors. The case
at bar presents a different situation. 18 U.S.C. § 2334(d)
limits the circumstances under which a court can entertain a
motion to dismiss on the grounds of the inconvenience of the
forum. Specifically, § 2334(d) provides:

The district court shall not dismiss any action brought

under section 2333 of this title on the grounds of the

inconvenience or inappropriateness of the forum chosen,
unless-

(1) the action may be maintained in a foreign court

that has jurisdiction over the subject matter and over

all the defendants;

(2) that foreign court is significantly more convenient

and appropriate; and

(3) that foreign court offers a remedy which is

substantially the same as the one available in the

courts of the United States.

18 U.s.c. § 2334<8).

The PA defendants argue that this case should be dismissed
because all defendants, potential witnesses, physical evidence
related to the Ungars’ murders, and all plaintiffs, with the
exception of plaintiff Strachman, are located in 1srael or
elsewhere in the Middle East. The PA defendants also contend
that courts “functioning and available in the immediate area” are
significantly more convenient, offer remedies substantially the
same as those available in the United States, and are familiar
with the law that will govern most issues in the case. Defs.’

Mem. Supp. Mot. Dismiss Compl., p. 6-7.

Notably absent from the PA defendants’ argument is the

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Case 1:00-CV-00105-L-DL|\/| Document 40 Filed 07/25/01 Page 46 of 47 Page|D #: 11189
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:II. Concluéionreasons, the PA defendants’ motio:lt:he

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46

Case 1:00-CV-00105-L-DLM Document 40 Filed 07/25/01 Page 47 of 47 Page|D #: 11190

their individual capacities, but denied as to the remaining
plaintiffs; the motion to dismiss for failure to state a claim
with respect to Counts 11, 111, 1V, and V is granted with leave
to amend; and the motion to dismiss for inconvenience of the
forum is denied.

lt is so ordered:

Ronald R. Lagdeux
U.S. District Court Judge

Juiy Q% , 2001

 

47

 

